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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

MICHAEL HINTZ                                                   CIVIL ACTION
VERSUS                                                          NO.: 18-5582
BOARD OF COMMISSIONERS OF THE                                   SECTION: A/1
LOUISIANA STADIUM AND EXPOSITION
DISTRICT, et al


                              ORDER TRANSFERRING CASE


       The Court has been informed that the above-captioned matter is related to Civil Action

No. 18-1935, Stephen Carrier vs Essence Festivals Productions, LLC, et al, currently allotted to

Section R/1 of this Court.

       Accordingly, IT IS ORDERED that this matter is hereby transferred to Section R/1.

       New Orleans, Louisiana, this         day of June 2018.



                                                        ________________________________
                                                                JAY C. ZAINEY
                                                        UNITED STATES DISTRICT JUDGE




  6/5/18
2/15/05
